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14
15
16                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF ARIZONA
17
18
      United States of America,                    )
19                                                 )   No.CR-18-00223-001-TUC-RCC
                    Plaintiff,                     )
20
                                                   )
21    vs.                                          )   BRIEF OF AND BY PROFESSORS OF
                                                   )   RELIGIOUS LIBERTY AS AMICUS
22
      SCOTT DANIEL WARREN,                         )   CURIAE IN SUPPORT OF
23                                                 )   DEFENDANT’S MOTION TO
                    Defendant.                     )   DISMISS
24                                                 )
25
26
27           Amici Law Professors, all considered to be experts in constitutional law and

28    specifically the law of religious liberty, seek to provide the court with the proper framework
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 1    within which to consider Dr. Warren’s motion to dismiss grounded in the Religious

 2    Freedom Restoration Act, 42 U.S.C. § 2000bb–1 (hereinafter “RFRA”).
 3
             This case represents one of the first instances in which a court has had to adjudicate
 4
 5    the application of RFRA as a defense to a criminal prosecution under federal immigration

 6    law, specifically 8 U.S.C. § 1324(a)(1)(A)(iii) which prohibits harboring and is a criminal
 7
      law of general application. Given that the issues involved—the enforcement of federal
 8
      immigration law and the fundamental right to religious liberty—are significant, and that
 9
10    the case presents a question of first impression, it is imperative that the court structure its
11    ruling on the RFRA motion to dismiss in a way that will provide clear guidance to the
12
      parties here and to other parties and courts in the future. Particularly because a wide range
13
14    of religious institutions currently operate homeless shelters, soup kitchens, or other

15    charitable services that provide basic needs such as food, water, shelter, or clean clothes to
16
      persons who may be undocumented, it is particularly important that this court provide clear
17
18    guidance on this matter.

19           Congress enacted RFRA in 1993 in response to the Supreme Court’s holding in
20
      Employment Division v. Smith, 494 U.S. 872 (1990), that the Free Exercise Clause of the
21
      First Amendment “does not relieve an individual of the obligation to comply with a valid
22
23    and neutral law of general applicability.” Id. at 879 (internal quotation marks omitted).
24    With RFRA, Congress sought “to restore the compelling interest test as set forth in Sherbert
25
      v. Verner, 374 U.S. 398 (1963) and Wisconsin v. Yoder, 406 U.S. 205 (1972),” that had
26
27    been altered by the Court in Smith. 42 U.S.C. § 2000bb(b)(1). By reinstating as a statutory

28    matter the pre-Smith free exercise standard, Congress recognized the fact that laws of


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 1    general applicability may, in some cases, impose a substantial burden on the religious

 2    exercise of some persons, and when they do, the government must justify such burden on
 3
      religious exercise as furthering a compelling interest through narrowly tailored means.
 4
 5    RFRA aims to provide substantial protection to the free exercise of religion while

 6    recognizing that these rights are not absolute, insofar as they must yield where necessary
 7
      for the government to implement a compelling public interest, or where the rights of third
 8
      parties, for instance other citizens, are burdened by the overly solicitous accommodation
 9
10    of an individual’s religious belief. Further, the First Amendment’s Establishment Clause
11    imposes a limit on the extent to which the government may accommodate the religious
12
      beliefs of citizens, as the government must ensure that an “accommodation [is] measured
13
14    so that it does not override other significant interests” and does not “differentiate among

15    bona fide faiths.” Cutter v. Wilkinson, 544 U.S. 709, 722-23 (2005).
16
             RFRA is a careful balancing test intended to provide discrete religious exemptions
17
18    to those whose religious activities are inadvertently constrained by neutral laws of general

19    applicability. To receive an exemption under RFRA, a claimant need not demonstrate that
20
      the challenged law or policy singles out any particular group for special harm—such a law
21
      would be unconstitutional under the Free Exercise and Establishment Clauses of the First
22
23    Amendment, making a RFRA exemption unnecessary. See Church of Lukumi Babalu Aye,
24    Inc. v. City of Hialeah, 508 U.S. 520, 534 (1993). Nor need a defendant show that he
25
      believes the challenged law cannot exist at all. RFRA is not a means of challenging the
26
27    application of a law or policy generally, but of challenging a particular application to the

28    extent that it conflicts with a particular person’s specific religious practices.


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 1           Under RFRA, the federal government may not “substantially burden” a person’s

 2    religious exercise, even where the burden results from a religiously neutral, generally
 3
      applicable law that might be constitutionally valid under Smith, unless the imposition of
 4
 5    such a burden is the least restrictive means to serve a compelling governmental interest.

 6    The person claiming a RFRA defense, in this case Dr. Warren, must show i) that he holds
 7
      a belief that is religious in nature; ii) that that belief is sincerely held; iii) that his exercise
 8
      of religious belief was substantially burdened by a federal law or policy. Once the person
 9
10    claiming a RFRA defense has made out this showing, the burden shifts to the government
11    to show that i) it has a compelling governmental interest; and ii) that interest is being
12
      accomplished through the least restrictive means. 42 U. S. C. §§2000bb–1(a), (b).
13
14           In this case the government has addressed only three issues in connection with the

15    RFRA motion: it argues that the defendant’s religious beliefs were not substantially
16
      burdened, that the government has shown a compelling state interest to enforce the law in
17
18    this case, and that the law is narrowly tailored to accomplish that compelling interest.

19    The RFRA Prima Facie Case
20
             With respect to the showing required by the party claiming a RFRA exemption, the
21
      claimant must first show by a preponderance of the evidence that he holds a belief that is
22
23    religious in nature. This showing requires courts to consider the mixed question of whether,
24    objectively, the claimant’s beliefs are “religious” and whether, subjectively, the claimant
25
      himself understood the beliefs to be religious. RFRA covers “any exercise of religion,
26
27    whether or not compelled by, or central to, a system of religious belief.” Burwell v. Hobby

28    Lobby, 573 U.S. ___, 134 S.Ct. 2751, 2762 (2014). RFRA provides protection to a wide


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 1    diversity of religious practices, including those that differ significantly from the Abrahamic

 2    traditions. Thus, a RFRA claimant need not show that they believe in a singular deity, that
 3
      their faith includes a house of worship, or that they are a member of a recognizable
 4
 5    congregation.1 “This [] inquiry reflects our society’s abiding acceptance and tolerance of

 6    the unorthodox belief. Indeed, the blessings of our democracy are ensconced in the first
 7
      amendment’s unflinching pledge to allow our citizenry to explore diverse religious beliefs
 8
      in accordance with the dictates of their conscience.” Patrick v. LeFevre, 745 F.2d 153, 157
 9
10    (2d Cir. 1984). “[W]e are a cosmopolitan nation made up of people of almost every
11    conceivable religious preference.” Braunfeld v. Brown, 366 U.S. 599, 606 (1961). “Our
12
      nation recognizes and protects the expression of a great range of religious beliefs.” Navajo
13
14    Nation v. U.S. Forest Serv., 535 F.3d 1058, 1064 (9th Cir. 2008).

15             In considering whether a system of values or beliefs counts as religious for the
16
      purposes of RFRA and similar federal statutes, courts have looked to several key indicia
17
18    of “religiosity” that implicate “‘deep and imponderable matters’ … includ[ing] existential

19    matters, such as humankind’s sense of being; teleological matters, such as humankind’s
20
      purpose in life; and cosmological matters, such as humankind’s place in the universe.”
21
      Cavanaugh v. Bartelt, 178 F. Supp. 3d 819, 829 (D. Neb. 2016), aff'd (8th Cir. Sept. 7,
22
23    2016).
24
25
26            In this respect the Government’s questioning of the defendant’s father during the
               1
      evidentiary hearing on whether the defendant attended “church” was irrelevant. Doc. 45,
27    Transcript of Proceedings, May 11, 2018 at 27-28. Similarly, the government’s
      questioning of the defendant about whether he belonged to the Jewish, Mormon, Catholic,
28    Muslim or Bahai faiths was irrelevant. Id. at 53.


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 1           While the objective question of differentiating religious from other kinds of belief

 2    systems may be challenging in some cases, this is not a hard question in this case. Dr.
 3
      Warren’s testimony and that of his father demonstrate that the beliefs that compelled Dr.
 4
 5    Warren to provide aid to persons in and around Ajo, Arizona clearly implicated “‘deep and

 6    imponderable matters,’ includ[ing] existential matters, such as humankind’s sense of
 7
      being; teleological matters, such as humankind’s purpose in life; and cosmological matters,
 8
      such as humankind’s place in the universe.” Id.
 9
10           There remains a subjective factual component to the question of whether a particular
11    RFRA claimant’s belief system should be treated as religious: were they considered by the
12
      claimant to be religious in nature? The central factual question is “whether they are, in his
13
14    own scheme of things, religious.” Id. at 157 (quoting United States v. Seeger, 380 U.S. 163,

15    185 (1965) (emphasis added)), with the aim of “differentiating between those beliefs that
16
      are held as a matter of conscience and those that are animated by motives of deception and
17
18    fraud.” Isbell v. Ryan, 2011 WL 6050337 (D. Ariz., December 6, 2011), citing Patrick v.

19    LeFevre, 745 F.2d 153, 157.
20
             In this case the factual question of whether the defendant’s beliefs were religious in
21
      nature is not disputed by the government, nor is it a difficult question to resolve in Dr.
22
23    Warren’s favor given the testimony presented at the evidentiary hearing. Therefore, this
24    element can be resolved in the defendant’s favor at this juncture.2
25
26
             2
               At the evidentiary hearing Dr. Warren’s father testified that his son’s belief system
27    was not simply ethical, secular belief, and that that “Church of the Natural World” involves
      a “life force, a soul.” Doc. 45, Transcript of Proceedings, May 11, 2018 at 20-21, 33. Dr.
28    Warren testified to his belief that the desert had a soul and a life force, and that providing


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 1           Second, the RFRA claimant must show that his religious beliefs are sincerely held.

 2    Hobby Lobby, 134 S.Ct. at 2774 n. 28 (“To qualify for RFRA's protection, an asserted
 3
      belief must be ‘sincere’....”). This element is a question of fact, proven by the credibility
 4
 5    of the party asserting a religion-based defense. United States v. Zimmerman, 514 F.3d 851,

 6    854 (9th Cir. 2007) (stating that sincerity is “a question of fact”); Patrick v. LeFevre, 745
 7
      F.2d 153, 157 (2nd Cir. 1984) (the sincerity analysis “demands a full exposition of facts
 8
      and the opportunity for the factfinder to observe the claimant’s demeanor during direct and
 9
10    cross- examination”); United States v. Quaintance, 608 F.3d 717, 721 (10th Cir. 2010)
11    (“[S]incerity of religious beliefs ‘is a factual matter.’”). See generally Kara Loewentheil
12
      and Elizabeth Reiner Platt, In Defense of the Sincerity Test, in Religious Exemptions 247
13
14    (Kevin Vallier & Michael Weber eds., 2018).

15           Rather than merely reducing this element to a matter of pleading and accepting the
16
      RFRA claimant’s mere assertion of sincerity, the court must undertake a meaningful
17
18    assessment of the factual basis for the claim to sincerity, including examination of the

19    claimant’s demeanor. At the evidentiary hearing Dr. Warren and his father presented ample
20
      credible testimony demonstrating that his religious beliefs were sincere in nature, and the
21
      government has not contested the truth of this assertion. Therefore this element can be
22
23    resolved by the court in the defendant’s favor on a motion to dismiss.
24           Next, the party seeking a RFRA-based exemption must show that the exercise of a
25
26    humanitarian aid is a “sacred act” Id. at 36-38, 55. Finally, Dr. Warren testified that he
      considered his belief system religious. Id. at 37. Nothing in the record contradicts or draws
27    into question the conclusion that Dr. Warren’s belief system is religious in nature.
28



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 1    sincerely held religious belief was substantially burdened by government action. This

 2    element contains two components: that the government substantially burdened the exercise
 3
      of religious belief. Both aspects of this element are questions of law for the court to decide.
 4
 5    See Mahoney v. Doe, 642 F.3d 1112, 1121 (D.C. Cir. 2011) (stating that judicial inquiry

 6    into the substantiality of the burden “prevent[s] RFRA claims from being reduced into
 7
      questions of fact, proven by the credibility of the claimant”); Kaemmerling v. Lappin, 553
 8
      F.3d 669, 679 (D.C. Cir. 2008) (“[a]ccepting as true the factual allegations that
 9
10    Kaemmerling’s beliefs are sincere and of a religious nature—but not the legal conclusion,
11    cast as a factual allegation, that his religious exercise is substantially burdened”); Eternal
12
      Word Television Network, Inc. v. Sec'y of U.S. Dep't of Health & Human Servs., 818 F.3d
13
14    1122, 1144–45 (11th Cir. 2016); Priests For Life v. U.S. Dept. of Health and Human

15    Services, 772 F.3d 229, 247 (D.C. Cir. 2014), vacated on other grounds and remanded sub
16
      nom. Zubik v. Burwell, 136 S. Ct. 1557 (2016) (noting that eight circuits have held that
17
18    “the question of substantial burden also presents “a question of law for courts to decide.”).

19    As Professor Frederick Mark Gedicks has argued persuasively, “[t]he rule of law demands
20
      that the determination whether religious costs are substantial should be made by impartial
21
      courts.” Frederick Mark Gedicks, “Substantial” Burdens: How Courts May (and Why
22
23    They Must) Judge Burdens on Religion Under RFRA, 85 Geo. Wash. L. Rev. 94, 150–51
24    (2017).
25
             A substantial burden exists when government action puts “substantial pressure on
26
27    an adherent to modify his behavior and to violate his beliefs.” Thomas v. Review Bd., 450

28    U.S. 707, 718 (1981). The Ninth Circuit has recognized two ways to understand the notion


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 1    of substantial burden in the RFRA context: (1) forcing a person to choose between the

 2    tenets of their religion and a government benefit, and (2) being coerced to act contrary to
 3
      religious belief by threat of civil or criminal sanctions. Navajo Nation v. U.S. Forest Serv.,
 4
 5    535 F.3d 1058, 1069–70 (9th Cir. 2008).            The second formulation applies most

 6    appropriately in this case, where the threat of imprisonment and significant financial
 7
      penalties will coerce the defendant to act in a way that is contrary to his religious beliefs.
 8
      This standard was elaborated upon further by the Ninth Circuit in Snoqualmie Indian Tribe
 9
10    v. F.E.R.C., 545 F.3d 1207, 1214 (9th Cir. 2008) where the court described the problem of
11    burden as “a Catch–22 situation: exercise of their religion under fear of civil or criminal
12
      sanction.”
13
14    The Government’s Burden in Opposing the RFRA Motion

15           If the claimant demonstrates a substantial burden on his ability to exercise his
16
      sincerely-held religious beliefs, he is entitled to a RFRA exemption unless the government
17
18    can show that the burden is the least restrictive means of advancing a compelling

19    government interest. A compelling interest must be clearly articulated and specific;
20
      “broadly formulated interests justifying the general applicability of government mandates”
21
      are not considered compelling. Gonzales v. O Centro Espirita Beneficente Uniao do
22
23    Vegetal, 546 U.S. 418, 430-31 (2006). Courts should take into account not only the interests
24    of the government itself, but of third parties who stand to be impacted by an
25
      exemption. Cutter v. Wilkinson, 544 U.S. 709, 720, (2005) (“courts must take adequate
26
27    account of the burdens a requested accommodation may impose on nonbeneficiaries”).

28           To demonstrate that the application of the challenged law or policy is narrowly


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 1    tailored, the government must show that it could not achieve its compelling interest to the

 2    same degree while exempting the [party asserting the RFRA claim] from complying in full
 3
      with the [law]” U.S. v. Christie, 825 F.3d 1048, 1061 (9th Cir. 2016). See also O Centro,
 4
 5    546 U.S. at 431. This “focused inquiry” requires the government to justify why providing

 6    an exemption would be unworkable. Id. at 431-32.
 7
             Both the compelling interest and least restrictive means analyses are questions of
 8
      law that can properly be addressed on a motion to dismiss. See United States v. Friday, 525
 9
10    F.3d 938, 949 (10th Cir. 2008) (“We now conclude, as other circuits have, that both prongs
11    of RFRA's strict scrutiny test are legal questions.”); United States v. Christie, 825 F.3d
12
      1048, 1056 (9th Cir. 2016) (“We review the district court's compelling-interest and least-
13
14    restrictive-means conclusions de novo”). In our view, the government has not carried its

15    burden on either of these elements.
16
      Objections to the Magisrate’s Treatment of Dr. Warren’s RFRA Motion:
17
18           Our concerns lie largely with the Magistrate’s misapplication of RFRA’s

19    “substantial burden” test. First, the Magistrate Judge noted “No testimony was presented
20
      that the statutes at issue compelled the Defendant to do anything in violation of his religious
21
      beliefs. The laws at issue are of a general nature that apply to all and do not single him or
22
23    any identifiable group into acting in conflict with their religious beliefs. The Defendant is
24    at best told not to violate the laws that apply equally to all.” Magistrate’s Report and
25
      Recommendation (hereinafter R&R) (Doc. 81) at 3.
26
27           This characterization of the substantial burden test misstates its meaning in the

28    RFRA context. In noting that the laws “apply to all,” the Magistrate Judge overlooked that


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 1    this is precisely the context in which RFRA was meant to apply: to laws of general

 2    application that impose a substantial burden on the sincerely held religious beliefs of some
 3
      people. The Magistrate Judge’s reading of the legal standard of burden may reflect the
 4
 5    constitutional standard of protection for religious liberty recognized by the Supreme Court

 6    in Employment Division v. Smith (the Free Exercise Clause of the First Amendment “does
 7
      not relieve an individual of the obligation to comply with a valid and neutral law of general
 8
      applicability,” 494 U.S. 872, 879 (internal quotation marks omitted)). However, RFRA was
 9
10    enacted specifically to provide greater statutory protection for religious liberty than is now
11    recognized under the First Amendment. See generally Ruiz-Diaz v. U.S., 703 F.3d 483
12
      (9th Circ. 2012) (“RFRA requires the federal government to show that it is advancing a
13
14    compelling interest through the least restrictive means possible where the government

15    ‘substantially burden [s] a person’s exercise of religion,’ even where, as here, the burden
16
      results from a rule of general applicability. 42 U.S.C. § 2000bb–1.”) (emphasis supplied).
17
18    Any suggestion that Dr. Warren’s RFRA claim is weakened because the law he is charged

19    with violating does not target religion and applies equally to all fundamentally
20
      misconstrues RFRA, which expressly applies to and was intended to restrict burdens on
21
      religion “even if the burden results from a rule of general applicability . . . .” 42 U.S.C. §
22
23    2000bb–1(a).
24           Second, the Magistrate Judge reasoned that “[a]t no time during the Defendant’s
25
      testimony did he claim that his religious beliefs necessitated he aid undocumented
26
27    migrants, only that he was compelled to aid persons in distress … Nor has he asserted or

28    testified that his beliefs require he assist people illegally in this country to evade


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 1    apprehension or reach their ultimate destination.” R&R at 4. Based on this reasoning, the

 2    Magistrate Judge concludes that the defendant’s religious beliefs have not been
 3
      substantially burdened. This too misstates RFRA doctrine.
 4
 5           The question is not whether defendant’s religious beliefs commit him to violate the

 6    law, but whether his beliefs commit him to undertake acts that are otherwise treated as
 7
      illegal by a federal law or by federal agents. For instance, in Hobby Lobby the issue was
 8
      not whether the company’s owners’ religious beliefs required them to violate the
 9
10    Affordable Care Act, but rather whether their beliefs committed them to offering health
11    insurance to employees but prohibited them from including contraception in that coverage.
12
      134 S. Ct. 2751, 2775-77. Similarly, in O Centro, the issue was not whether the beliefs of
13
14    a religious group with origins in the Amazon rainforest included the violation of the

15    Controlled Substances Act, but rather whether the exercise of their sincere religious beliefs
16
      included ingestion of substances otherwise regulated by federal law. 546 U.S. at 425-26,
17
18    436.

19           The mistake that lies at the heart of the Magistrate Judge’s reasoning on this issue
20
      is insisting that the acts entailed in the exercise of religion be defined in secular legal terms.
21
      It is to confuse the actus reus for the alleged crime itself. It is as if the government were
22
23    reading a specific scienter requirement into RFRA, that is, that the person seeking an
24    exemption be required to show that they intended to violate the law as an article of their
25
      faith, rather than that they intended to engage in faith-based acts that so happened to risk
26
27    prosecution under the law. RFRA requires that the person requesting an exemption show

28    that their actions were motivated by a religious purpose, not that they were motivated by a


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 1    desire to violate the law. To require the latter would undermine the very purpose of RFRA:

 2    to provide individualized exemptions from the application of generally applicable laws to
 3
      persons whose good faith religious exercise presents a conflict with the requirements of the
 4
 5    law.

 6           Relatedly, the government’s reliance on Guam v. Guerrero, 290 F.3d 1210 (9th Cir.
 7
      2002), and United States v. Bauer, 84 F.3d 1549 (9th Cir. 1996), is misplaced. In both of
 8
      these cases the Ninth Circuit found as a matter of fact that only certain acts otherwise
 9
10    prohibited by federal drug laws were included in the defendants’ Rastafarian belief system
11    (i.e. smoking marijuana), while other acts for which the defendants were also prosecuted
12
      (i.e. selling or importing marijuana) were not shown to be part of the defendants’ system
13
14    of beliefs at all. The Ninth Circuit’s analyses did not turn on whether the defendants were

15    motivated by an intent to violate the relevant statutory provisions. Instead, the focus of the
16
      inquiry in those cases was properly on whether the underlying acts—smoking, selling, or
17
18    importing of marijuana—were elements of the defendants’ religious exercise [on the

19    defendants’ own terms].
20
             Dr. Warren’s religiously motivated activities form the foundation of the
21
      government’s prosecution under the harboring law. The basis for the charge against
22
23    Warren as described in the criminal complaint include providing food, water, shelter, and
24    clean clothes to, as well as talking to, two undocumented migrants. (Doc. 1). These
25
      activities were clearly motivated by Dr. Warren’s religious faith, which requires him to
26
27    care for people that he believes are in distress. During the evidentiary hearing, Dr. Warren

28    explained “Based on my spiritual beliefs, I am compelled to act. I’m drawn to act. I have


                                                   13
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 1    to act when someone is in need.” Doc. 45, Transcript of Proceedings, May 11, 2018 at 44.

 2    The Magistrate acknowledged this duty, describing his beliefs as “a somewhat modified
 3
      Golden Rule, in that he has a compulsion to help those in their immediate need, i.e. food,
 4
 5    water, and medical aid.” R&R at 2.

 6           Despite this, the Magistrate Judge found no substantial burden because Dr. Warren
 7
      had not “asserted or testified that his beliefs require he assist people illegally in this country
 8
      to evade apprehension or reach their ultimate destination.” R&R at 3. The fact that Dr.
 9
10    Warren did not articulate a religious belief in concealing undocumented people, however,
11    is irrelevant; nothing in the criminal charge includes any mention of Dr. Warren attempting
12
      to conceal the migrants from law enforcement. The bases for Dr. Warren’s charge are
13
14    entirely RFRA-protected activities, and his prosecution therefore puts him in the position

15    of violating his religious beliefs or risking criminal prosecution—undoubtedly a substantial
16
      burden.
17
18           Properly understood, a key element of Dr. Warren’s sincerely held religious beliefs

19    included a commitment to help others in distress to the point of being a duty or compulsion
20
      to provide them aid even though there was a risk of violating federal law. This is precisely
21
      the kind of “Catch-22 situation” that RFRA’s notion of substantial burden was intended to
22
23    capture.
24           Conclusion.
25
26           For the foregoing reasons we believe that Dr. Warren’s RFRA motion for dismissal

27    should be granted because all of the elements of the claim case be resolved in his favor

28    either as a matter of law or as a matter of fact based on the facts adduced at the evidentiary



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 1    hearing.
 2
 3           RESPECTFULLY SUBMITTED June 21, 2018.
 4
                                                    Katherine Franke (pro hac vice pending)
 5                                                  and
                                                    JBELANGER LAW PLLC
 6
 7
                                                    By /s/ James J. Belanger
 8
                                                           James J. Belanger
 9
                                                    Attorneys for Amicus Curiae Professors
10                                                  Katherine Franke, Caroline Mala Corbin,
11                                                  Micah Schwartzman, Elizabeth Sepper,
                                                    and Nelson Tebbe
12
13
14
15                                  CERTIFICATE OF SERVICE
16
      I certify that on June 21st, 2018, I, James J. Belanger, electronically transmitted a PDF
17    version of this document to the Clerk of Court using the CM/ECF System for filing and
18    for transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:

19           Nathaniel J. Walters, Esq. (email: Nathaniel.walters@usdoj.gov)
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